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From: Shane Johnson<shaneajohnson@tamu.edu>
Date: Fri, Aug 26, 2022 at 5:41 PM
Subject: Re: Recruiting meeting
To:


No worries. The underrepresented line would potentially be a third position, so yes
reserved, but not one of our "regular" positions.

S



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On Fri, Aug 26, 2022 at 10:07 AM                                                  wrote:
Shane,

I am sorry for having missed our meeting. I don't know how it did not get on my
calendar.

I heard from someone that one of our lines is reserved for an "underrepresented
minority." Is that correct?

Best,
